                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

   UNITED STATES OF AMERICA                              )
                                                         )              1:18-cr-11
   v.                                                    )
                                                         )              Judge Mattice/Steger
   JERRY WAYNE WILKERSON,                                )
   MICHAEL CHATFIELD,                                    )
   KASEY NICHOLSON,                                      )
   BILLY HINDMON, and                                    )
   JAYSON MONTGOMERY                                     )

                      SUPPLEMENTAL BRIEF OF THE UNITED STATES
                          REGARDING UNITES STATES V. IGBOBA

          Comes now the United States of America by and through J. Douglas Overbey, United

   States Attorney for the Eastern District of Tennessee, and Perry H. Piper and Franklin P. Clark,

   Assistant United States Attorneys, and hereby offer this Supplemental Brief regarding the Sixth

   Circuit’s recently published decision in United States v. Igboba, --- F.3d ----, 2020 U.S. App.

   LEXIS 20717 (6th Cir. July 2, 2020).

          This Court invited the parties to submit supplemental briefing and to address how the

   Igboba decision effects the loss calculation in this matter. (R. 480.) Pursuant to the Court’s

   invitation, and to Local Rule 7.1(d), the United States submits the following.

          To succinctly answer the Court’s question: Igboda makes clear that the Court could

   attribute the loss amount from this entire jointly undertaken criminal activity to each individual in

   this case – resulting in higher loss amounts and guideline ranges for four of the five defendants

   (all except Wilkerson).     However, pursuant to the Presentence Investigation Reports, the

   defendants are only being held accountable for what they did and for what they controlled. Even

   though a larger amount of loss could legally be assessed each defendant (with the possible




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   exception of Wayne Wilkerson – the undisputed leader of this enterprise), the United States does

   not seek to do so.

                                                IGBOBA

          Igboba breaks no new ground with respect to loss amount jurisprudence. However, it

   does provide a thorough accounting of how loss is calculated under the fraud sentencing

   guidelines.

          As an initial matter, Igboba reaffirms the longstanding proposition that, “[g]iven the

   difficulty of calculating loss in a fraud case, ‘the district court need only make a reasonable

   estimate of the loss using a preponderance of the evidence standard.’” Igboda, at *14, citing

   United States v. Ellis, 938 F.3d 757, 760 (6th Cir. 2019). Igboba also reinforces the concept that

   a convicted defendant may be held responsible not only for the loss caused by actions he (or she)

   personally “committed, aided, abetted, counseled, commanded, induced, procured, or willfully

   caused,” but also for any loss caused by a “jointly undertaken criminal activity” in which the

   defendant participated. Igboba, at *14-15, citing U.S.S.G. §1B1.3(a)(1). In other words, a

   convicted defendant may be sentenced based on loss amounts caused by other members of the

   criminal conspiracy, even if the defendant had nothing to do with the specific loss.

          As Igboba reiterates, to hold someone responsible for the loss attributable exclusively to

   other members of the conspiracy/scheme, it must be shown that the acts were:

          (i) within the scope of the jointly undertaken criminal activity,
          (ii) in furtherance of that criminal activity, and
          (iii) reasonably foreseeable in connection with that criminal activity;
          that occurred during the commission of the offense of conviction, in preparation
          for that offense, or in the course of attempting to avoid detection or responsibility
          for that offense.




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          Igboba, at *15, citing U.S.S.G. §3B1.3(a)(1)(B). Under these principles of conspiracy

   and scheme liability, the defendants Could be held accountable for much more pursuant to

   §1B1.3(a)(1). This is especially true for Michael Chatfield.

          Clearly, the actions of all of the members of this scheme (Wilkerson, Chatfield,

   Hindmon, Nicholson, Montgomery, Kirtis Green, Jimmy Collins, and others) were within the

   scope of the criminal activity, were done to further its objectives, and were reasonably

   foreseeable to the others. Sentencing the defendants in this case under this principle would lead

   to increased loss amounts for four of the five.

          The total loss from the Wilkerson run scheme is $35 million. Of this $35 million,

   Defendant Montgomery was only assessed with “a conservative estimate” of between $1.5

   million and $3.5 million. (R. 454, Montgomery Revised PSR, ¶ 83.) This is a difference of six

   base offense levels pursuant to the §2B1.1 loss table. Nicholson and Hindmon were each

   assessed a loss amount of between $3.5 and $9.5 million, (R. 446, Nicholson Revised PSR, ¶ 76;

   R. 444, Hindmon Revised PSR, ¶ 89) which is four base offense levels less than had they been

   assessed the entire loss amount. Only Wilkerson – as alluded to above – was assigned with the

   entire loss amount from the scheme he directed, and his base offense level would not change.

          Defendant Chatfield’s situation is somewhat more complicated. As the Court will recall,

   the Court heard testimony that Chatfield “sold” his “book of business” to Jimmy Collins. This

   “book of business” consisted of fraudulent prescriptions written on behalf of enlisted personnel

   that were auto-refilling and billing Tricare. Including the losses occurring after Collins took over

   the scheme, the loss amount is over $100 million. Chatfield cannot credibly argue that this

   additional loss was not foreseeable. Nevertheless the PSR only assessed him with a loss amount

   between $9.5 and $25 million. (R. 448, Chatfield Revised PSR, ¶ 108.) Therefore, his base



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   offense level would be increased by two levels if he was only assessed the amount of loss from

   the entire Wilkerson scheme, and it would be increased by four levels if it included the loss after

   he handed the reigns to Collins.

          However, it is unnecessary in this case for the Court to determine whether additional loss

   amounts were part of a “jointly undertaken criminal activity.” Since the United States is not

   attempting to impose a loss amount based on a jointly undertaken criminal activity, it is not

   necessary for the Court to make any of the above findings. The Court’s Probation Office has not

   assessed any of the defendants with any loss amount that was not a direct result of actions taken

   by the individual defendant or one of his (or her) downlinks; the government has not objected to

   that lack of assessment. Of course, as Igboba makes clear, “even if other people [also]

   participated in this activity, ‘that would not negate the substantial evidence implicating

   [Defendant] [him]self.’” Igboba at 20 citing Ellis, 938 F.3d at 762 (6th Cir. 2019).




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          While Igboba might not affect the loss amount calculated for guideline purposes due to

   the restraint shown by the Probation Office, the fact the defendants are escaping elevated

   guideline ranges pursuant to the entire amount of loss is certainly a relevant consideration for the

   Court when entertaining the defendants’ requests for a variance.

                                                                Respectfully submitted,

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